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IN 'l`H`E UN'ITED STATES DISTRICT COURT
FOR TI-IE SOUTHERN DIS'I`R`[C'I` OP TEXAS

LAREDO DIVISION
MAR.T.A I. SANTOS §
V. § Civil Action No. 5:15-cv-00032
AMERICAN MODERN §
HOM_'E ]NSURANCE COMPANY §

AGREED JOI.NT STI.PULATION OF DISMISSAL
URE_JILCE

TO TI-I'E I-IONORABLE J`UDGE OF SAID COURT:
Pursuant to Federal Rule of Civil Procedure 41(21)(1), Plainu'ff Mo.ria I. Santes

(“Plai.ntiff’) and Defendant, American Modem Home Insul'a.nce Company (“Defcndant”),
through the undersigned counsel, jointly stipulate to the dismissal with prejudice of all claims
Plaintiff asserted or could have been asserted against Defendnnt in this matter, as such parties
have agreed upon the settlement and compromise of all claims Plaintiff made against Defendant.

Each party agrees to bear its own attorneys’ fees and costs.

Dated= April _\1, 2015

    
 

 

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' 1/-. al Bar [DNo. 5966

". \ ar No. 15454300

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AT'[`ORNEYS FOR PLAINTIFF
MARIA I. SANTOS

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ATTORNEYS FOR. DEFENDANT A.MER.ICAN
MODERN HOME INSU'RANCE COMPANY

CERTIFICATE OF SERVICE

 

I hereby certify that on April QD_B,H 2015, a true and correct copy of the foregoing Agreed
Joz'nt Srl'pulation ofDismissaI Wt'th Prejudice was electronically filed with the Clerk of Court for
the United States Distriot Court, South District of 'l`exas, Laredo Division, using the electronic
case filing system of the Court. I hereby certify that l have served all known counsel of record
electronically or by another manner authorized by Fed. R. Civ. P. S(b)(Z).

Andres A. Arguello Darrell R. Greer

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